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 EXHIBIT A
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                                                                          April 10, 2023


VIA EMAIL

Alina Habba
Habba Madaio & Associates LLP
1430 US Highway 206
Bedminster, New Jersey 07921

                         Re:   Carroll v. Trump, 22 Civ. 10016 (LAK)

Dear Alina:

        We write to provide certain supplemental information relating to a set of questions that Ms.
Carroll was asked at her deposition in Carroll I. More specifically, at her deposition in our offices
on October 14, 2022, you asked the following questions and Ms. Carroll gave the following
answers:

       Q. Are you presently paying your counsel’s fees?
       A. This is a contingency case.
       Q. So you’re not paying expenses or anything out of pocket to date; is that correct?
       A. I’m not sure about expenses. I have to look that up.
       Q. Is anyone else paying your legal fees, Ms. Carroll?
       A. No.

Dep. Tr. at 209:11-21.

       During the course of preparing for her testimony at trial, Ms. Carroll has recollected
additional information. While Ms. Carroll stands by that testimony about this case being a
contingency case, she now recalls that at some point her counsel secured additional funding from
a nonprofit organization to offset certain expenses and legal fees.

        To be clear, these issues are irrelevant to Ms. Carroll’s claims. See, e.g., Kaplan v. S.A.C.
Capital Advisors, L.P., No. 12 Civ. 9350, 2015 WL 5730101, at *3-5 (S.D.N.Y. Sept. 10, 2015),
aff’d, 141 F. Supp. 3d 246 (S.D.N.Y. 2015) (Marrero, J.); Benitez v. Lopez, No. 17 Civ. 3827, 2019
WL 1578167, at *2 (E.D.N.Y. Mar. 14, 2019); see also ECF 95 at 21-22. Nevertheless, we are
supplementing the record out of an excess of caution. If you intend to pursue these issues in cross-
examining Ms. Carroll, or in any other way at trial, then we should schedule a meet-and-confer so
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that the question of admissibility can be properly presented for a determination by the Court, if
necessary.

                                                                   Respectfully submitted,



                                                                   Roberta A. Kaplan

cc:    Counsel of Record
